UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

               -v-                                    Criminal Case No. 21-0080 (NGG)

DOUGLASS MACKEY,

                          Defendant.

------------------------------------------------- x




              REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              DOUGLASS MACKEY’S MOTION FOR A BILL OF PARTICULARS




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                 Conflicting information publicly available to explain the government’s

unprecedented one-sentence indictment of Mr. Mackey would itself seem sufficient reason for

the government to provide particulars. Instead of resolving conflicting information, the

government cuts-and-pastes boilerplate from opposition to particulars in boilerplate cases. Either

the government has no ready answers to the questions raised by Mr. Mackey’s motion, or it seeks

to power its way through to conviction and worry about defending it later. Either way, this case

will almost certainly result in rulings on constitutional issues of first impression, and neither Mr.

Mackey nor the Court should be forced to aim at a moving target.

                 The government claims that “the materials provided make clear that the defendant

is charged with violating Section 241 by conspiring with others to interfere with the right to

vote.” Gov’t Memo at 10 (emphasis added). The government’s claim misses the mark in at least

three ways. First, despite the government’s professed clarity about its alleged violation of

Section 241, nothing in Section 241 refers to interference. Section 241 makes it a federal crime



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to conspire “to injure, oppress, threaten, or intimate” any person in the free exercise of a

constitutional right. The word “interfere” appears not in Section 241, but Section 245(b)(1)(A),

which Congress enacted specifically to protect the right to vote, unlike Section 241's application

to constitutional rights generally. Section 245(b)(1)(A) provides:

       Whoever, whether or not acting under color of law, by force or threat of force willfully
       injures, intimidates or interferes with, or attempts to injure, intimidate or interfere with -

       (1) any person because he is or has been, or in order to intimidate such person or any
       other person or any class of persons from -

       (A) voting or qualifying to vote, qualifying or campaigning as a candidate for elective
       office, or qualifying or acting as a poll watcher, or any legally authorized election official,
       in any primary, special, or general election.

(emphasis added).

               Congress enacted Section 245 “to remove any doubt as to the protection that

would be extended against private interference with certain specific rights enumerated in § 245.”

See United States v. Pacelli, 491 F.2d 1108, 1114 (2d Cir. 1974), cert. denied, 419 U.S. 826

(1974), app. after remand, 521 F.2d 135 (2d Cir. 1975) (prosecution under Section 241 for

violating a witness’s right to testify by killing her). Section 245's “injure, intimidate or interfere”

in the express context of the right to vote helps show that Section 241's “injure, oppress, threaten,

or intimidate” does not embrace speech that allegedly disinformed:

               [Proposed Section 245] provides an effective means of deterring and punishing
               forcible interference with the exercise of Federal rights. The clear language of the
               bill would avoid unnecessary litigation concerning coverage and would provide
               unmistakable warning to lawless elements not to interfere with any of these
               activities.

See Pacelli, 491 F.2d at 1114 (emphasis added) (quoting the Senate Report on the legislation

which became Section 245).


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               The government’s use of Section 245's language of interference to describe the

alleged violation of Section 241 in this case follows (1) the government’s explanation that

voting-related law prohibits attempted interruption of voting at polling places, intimidation of

voters, and fraudulent acts like voter impersonation [Exhibit A to Mr. Mackey’s initial

memorandum, Docket No. 31-2]; (2) the FBI’s statement that Mr. Mackey essentially stole votes

[Mackey Memo at 12]; (3) the conclusion of then-Senator Obama, Senator Schumer, other

senators, and public interest groups that disinformation about voting is not a federal crime [see

Mackey Memo at 6-9]; and (4) the absence of any mention of any prosecution based on

disinformation in the Public Integrity Section’s comprehensive compendium about voting-related

law. See Mackey Memo at 5. The constitutional issues in this case are far too important for the

government to punt on particulars and tell Mr. Mackey to reconcile conflicting information for

himself. Given the government’s allegation in opposing particulars that Mr. Mackey conspired

to interfere with the right to vote, the government should identify which of Section 241's

conspiratorial objects (“injure, oppress, threaten, or intimidate”) applies.

               Second, due process requires notice, not multiple choice. Particulars must be

granted where the charges are “so general that they do not advise the defendant of the specific

acts of which he is accused.” Particulars are appropriate “to identify with sufficient particularity

the nature of the charge against him, thereby enabling defendant to prepare for trial, to prevent

surprise, and to interpose a plea of double jeopardy should he be prosecuted a second time for the

same offense.” See United States v. Raniere, 384 F. Supp. 3d 282, 321-22 (E.D.N.Y. 2019)

(quoting United States v. Chen, 378 F.3d 151, 163 (2d Cir. 2004), and United States v. Davidoff,

845 F.2d 1151, 1154 (2d Cir. 1988). The government’s memorandum in opposition [see, e.g.,


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Gov’t Memo at 10-11] informally suggests a basis for its indictment in lieu of the formal bill of

particulars required by Rule 7(f) of the Federal Rules of Criminal Procedure. Mr. Mackey would

risk the government faulting him if he did not seek a bill of particulars if this case proceeds to

trial, conviction, and appeal.

               Third, the government claims that Mr. Mackey’s memorandum of law in support

of his motion for particulars serves to undermine his claimed inability to prepare a defense

[Gov‘t Memo at 2], but a defendant’s diligence in gathering and attempting to reconcile

conflicting information about an indictment provides no fair basis to oppose particulars. Most

indicted defendants can readily prepare a defense by synthesizing existing templates for similar

prosecutions, the government’s accusatory instruments, and discovery. Not so here. The

information available to Mr. Mackey, unprecedented in a criminal case, includes apparent

conclusions of this District’s United States Attorney, the Public Integrity Section, Senators from

within this Circuit, and others that undermine the government’s professed clarity. The questions

raised by these apparent conclusions are compounded by the government’s reference to Section

245's language of interference in opposition to particulars. More is needed than the

government’s rehash [Gov’t Memo at 3-5] of a slice of the information available.

               The government analogizes Mr. Mackey’s motion for particulars to defense

requests for evidentiary detail in conventional cases where particulars were denied. See, e.g.,

United States v. Barret, 824 F. Supp. 2d 419 (E.D.N.Y. 2011) (trafficking in marijuana and

possession of an associated firearm); United States v. Bellomo, 263 F. Supp. 2d 561 (E.D.N.Y.

2003) (the Genovese Family of La Cosa Nostra); United States v. Jiminez, 824 F. Supp. 351

(S.D.N.Y. 1993) (drug trafficking and associated use of firearms); United States v. Ianniello, 621


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F. Supp. 1455 (S.D.N.Y. 1993) (racketeering); United States v. Malinsky, 19 F.R.D. 426

(S.D.N.Y. 1956) (extortion). The defendants in cases cited by the government sought a roadmap

of or to limit the government’s evidence - the “‘when’s,’ ‘wheres’ and ‘with whoms’ of acts and

participation in the charged conspiracy” [Jiminez, 824 F. Supp. at 363] - which is not the basis

for Mr. Mackey’s requested particulars.

               For example, the government opposes Mr. Mackey’s third requested particular -

“Did Mr. Mackey actually injure, oppress, threaten, or intimidate any registered voter in the free

exercise of the right to vote?” - by arguing that the question does “not seek necessary clarity on

the crime alleged; [but] instead . . . seeks information concerning the manner by which the

government will prove those allegations, such as whether and how the government may choose

to show the effects of the defendant’s acts.” Gov’t Memo at 12. To the contrary, the question

calls for an answer of “yes” or “no,” requiring no disclosure of any evidentiary information.

It appears indisputable, as Mr. Mackey demonstrated in his initial submission, that the

Department of Justice has never used Section 241 to prosecute speech that allegedly disinformed

in part precisely because of “the challenge of showing that anyone failed to vote because a

specific person misled them.” Mackey Memo at 9. Thus, an answer to Mr. Mackey’s third

requested particular is necessary so that he knows whether the government intends to prove that

the alleged conspiracy was successful so he can prepare his defense, properly tailor his motion to

dismiss, and tee up any appropriate motion in limine.

               By this motion, Mr. Mackey seeks to know, in substance, whether the basis for the


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charged violation of Section 241 is his alleged participation in chatrooms frequented by

ideologically like-minded others and his alleged posting of two alleged “Deceptive Images” to

Twitter accounts. If so, the government should say so in the form of a bill of particulars as

required by Rule 7(f), rather than oppose Mr. Mackey’s particulars and informally suggest an

explanation of its indictment in a few sentences in a memorandum of law. See Gov’t Memo at

10-11. The refusal of the government to do so and thereby resolve the conflicting available

information about this unprecedented case underscores the need to grant Mr. Mackey’s motion

and order his requested particulars.1

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                                              Respectfully submitted,

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           Mr. Mackey otherwise stands by all arguments in his initial submission; his decision
not to address all arguments advanced by the government in opposition should not be interpreted
as tacit acquiescence.

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